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                                                                 7
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                                                                                              UNITED STATES DISTRICT COURT
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                                                                                             CENTRAL DISTRICT OF CALIFORNIA
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                                                                      UNIFIED GROCERS, INC., a California         Case No. CV 12-10467 CAS (FFMx)
                                                                12    Corporation; SUE KLUG, an individual;
                                               L OS A NGELES




                                                                      and LEON BERGMANN, an individual,           [PROPOSED] ORDER FOR
                                                                13                                                DISMISSAL WITH PREJUDICE
                                                                                        Plaintiffs,
                                                                14
                                                                             v.
                                                                15                                               Judge: Christina A. Snyder
                                                                      SUPERVALU INC., a Delaware
                                                                16    Corporation and DOES 1 through 20,
                                                                      Inclusive,
                                                                17
                                                                                        Defendants.
                                                                18
                                                                19
                                                                20           Based upon the parties’ Stipulation of Dismissal With Prejudice, filed
                                                                21    February 15, 2013 [Docket No. 23], IT IS HEREBY ORDERED that the above-
                                                                22    captioned action is dismissed with prejudice and on the merits, with each party to
                                                                23    bear its own litigation costs, attorneys’ fees, and other expenses arising from or
                                                                24    related to this litigation.
                                                                25    Dated: February 15, 2013             ________________________________
                                                                26                                         The Honorable Christina A. Snyder
                                                                                                           UNITED STATES DISTRICT COURT
                                                                27                                         JUDGE
                                                                28
